                         UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

UNITED STATES OF AMERICA                    )
                                            )
       v.                                   )              NO. 2:11-cr-00003-1
                                            )              CHIEF JUDGE SHARP
WILLIAM EARL MCGUIRE, JR.                   )

 GOVERNMENT’S RESPONSE TO DEFENDANT=S MOTION FOR MODIFICATION
                         OF SENTENCE

       COMES NOW the United States of America, by and through the undersigned Assistant

United States Attorney, and hereby submits the following response in opposition to the

defendant’s motion for a reduction of sentence pursuant to 18 U.S.C. § 3582(c)(2) and

Amendment 782. (Docket No. 293). Consistent with the findings acknowledged in the defense

counsel’s Supplemental Brief (Docket No. 296), the government asserts that the defendant’s

guideline range has not been lowered as a result of Amendment 782. Because the defendant is not

eligible for a reduction in his sentence based upon recent amendments to the Sentencing

Guidelines, his request for sentence modification should be denied.

                                                    Respectfully submitted,

                                                    DAVID RIVERA
                                                    United States Attorney for the
                                                    Middle District of Tennessee

                                                    /s/ William Lee Deneke
                                                    William Lee Deneke
                                                    Assistant United States Attorney
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                                CERTIFICATE OF SERVICE

        I hereby certify that on May 27, 2016, the following document was sent via the court’s
electronic case filing system to Sumter L. Camp, attorney for the defendant.


                                                    /s/ William Lee Deneke
                                                    William Lee Deneke
                                                    Assistant United States Attorney




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